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                                                       UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:09-CR-262 JCM (RJJ)
                  8        UNITED STATES OF AMERICA,

                  9                       Plaintiff,
                10         v.
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                           ALFONSO RIVERA-AVALOS, et al.,
                12
                                          Defendants.
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                14                                                    ORDER
                15              Presently before the court is petitioner Adrian Fuentes Garcia’s motion for a certificate of
                16    appealability. (Doc. # 282).
                17    I.        Background
                18              Petitioner filed a motion to vacate his sentence pursuant to 28 U.S.C. § 2255. (Doc. # 250).
                19    The government filed a motion to dismiss the § 2255 motion (doc. # 255), and this court granted the
                20    motion to dismiss (doc. # 265). The order is silent regarding the issue of a certificate of
                21    appealability. (See id.). Petitioner filed this motion seeking a certificate of appealability for his §
                22    2255 motion. (Doc. # 282).
                23    II.       Legal Standard and Discussion
                24              Before the petitioner can appeal the denial of a § 2255 motion, a certificate of appealability
                25    must issue. See 28 U.S.C. § 2253. Further, a certificate of appealability may issue “only if the
                26    applicant has made a substantial showing of the denial of a constitutional right,” 28 U.S.C. §
                27    2253(c)(2), and the certificate of appealability must “indicate which specific issue or issues satisfy”
                28
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                  1   the requirement, 28 U.S.C. § 2253(c)(3).
                  2           To make this substantial showing, petitioner must demonstrate “that reasonable jurists could
                  3   debate whether (or, for that matter, agree that) the petition should have been resolved in a different
                  4   manner or that the issues presented were adequate to deserve encouragement to proceed further.”
                  5   Slack v. McDaniel, 529 U.S. 473, 483-84 (2000) (internal quotations and citations omitted).
                  6           This court dismissed petitioner’s § 2255 motion on procedural grounds. (See doc. # 265).
                  7   This court noted that “[m]otions to vacate a sentence pursuant to § 2255 are subject to a one-year
                  8   statute of limitations.” (Id.); citing 28 U.S.C. § 2255(f). Further, “the one-year period runs from ‘the
                  9   date on which the judgment of conviction becomes final.’” (Id.); quoting 28 U.S.C. § 2255(f)(1).
                10            In the order dismissing the § 2255 petition, this court found that petitioner filed his petition
                11    510 days after his conviction became final, and 145 days after the statutory period elapsed. (Id.).
                12    The court also noted that it may equitably toll the one year statutory limit if warranted by
                13    extraordinary circumstances. (Id.) (citing Holland v. Florida, 130 S.Ct. 2549 (2010)); see Miranda
                14    v. Castro, 292 F.3d 1063, 1066 (9th Cir. 2002) (“[T]he threshold necessary to trigger equitable
                15    tolling . . . is very high.”).
                16            In the dismissal of the § 2255 petition, the court held that no extraordinary circumstances
                17    existed that warranted a tolling of the one year statutory time period. (Id.). In the instant motion,
                18    petitioner does not: (1) address the certificate of appealability standard; (2) does not even allege the
                19    denial of a constitutional right; or (3) attempt to indicate which issue or issues would satisfy the high
                20    bar for granting a certificate of appealability. (See doc. # 282). The court finds that no extraordinary
                21    circumstances warrant an equitable tolling for petitioner’s failure to timely file a § 2255 petition for
                22    all the reasons stated in its original order (doc. # 265).1 The court declines to issue a certificate of
                23    appealability on the issue of equitable tolling.
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                26             The court denied the § 2255 petition for all the following reasons: (1) petitioner could not
                      establish that a lack of certain documents prevented a timely filing; (2) petitioner did not actually
                27    need any documents to make his ineffective assistance of counsel allegations; and, (3) the case law
                28    cited by petitioner was actually inapposite. (Doc. # 262).
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                  1           In the instant motion, petitioner alleges that he did not timely seek to appeal this court’s
                  2   dismissal of the § 2255 petition because he did not know about the dismissal until September 18,
                  3   2012, (Doc. # 282), a date well after the window had closed to timely file a notice of appeal. This
                  4   is not a true statement. First, the docket clearly shows that a copy of the dismissal order was mailed
                  5   to defendant on May 17, 2012, and a copy of the entire docket was mailed to defendant on May 21,
                  6   2012.
                  7           Second, petitioner’s § 2255 petition did not address the equitable tolling issue. However, on
                  8   May 29, 2012, petitioner filed a motion to permit equitable tolling. (Doc. # 270). Petitioner filed
                  9   his motion to permit equitable tolling two weeks after copies were manually mailed to him. The
                10    court finds these facts clearly demonstrate that petitioner did receive a copy of the dismissal order
                11    and then filed a motion (doc. # 270) to address the order (doc. # 265). The court finds there has been
                12    no showing of the denial of a constitutional right and a certificate of appealability is not warranted.
                13            Accordingly,
                14            IT IS HEREBY ORDERED ADJUDGED AND DECREED that petitioner’s motion seeking
                15    a certificate of appealability (doc. # 282) be, and the same hereby is, DENIED.
                16            DATED October 11, 2012.
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                                                             UNITED STATES DISTRICT JUDGE
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U.S. District Judge                                                    -3-
